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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                                            Hon. Stanley R. Chesler

         V.                                                          Criminal No. 20-00740-SRC

 MAURIZIO PARLATO


                                        ORDER ON CONSENT

         By their signatures below, counsel for the parties consent to the issuance of this order.

 /s/ Catherine R. Murphy

 Catherine Murphy, Esq.                                                        . Siano, Esq.
 Assistant United States Attorney                                    Attorney for Defendant
 Office of the United States Attorney                                333 Westchester Avenue
 District of New Jersey                                              White Plains, New York 10604
 970 Broad Street
 Newark, NJ 07102


        NOW upon the letter application of counsel for defendant Maurizio Parlato, dated
 June 28, 2021, and with the consent of the Office of the United States Attorney:

         IT IS ORDERED that:

       1) The above named defendant may retain his United States and Italian passports so as to
          allow the defendant to use those passports to remain in Italy for a period not
          exceeding two additional weeks, and for no other use.
        - The time period is June 30 through July 14.

        - When the initial request was made Ms. Harkay told me the decision rested with the Court.

          - With this request, the PTSO (Ms. Harkay) has been copied on all my e-mails with AUSA Murphy
and all the paperwork, at the time it was mailed and filed. No objection has been raised.

       2) Defendant and his counsel shall return promptly those passports to Pre-Trial Services
          after the above described travel is completed.

         SO ORDERED:
                                                            s/Stanley R. Chesler, U. S. D. J.
                                                              Hon. Stanley R. Chesler
                                                              United States District Judge

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 Dated:
7/3/2021




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To:        Pre-Trial Services
           AUSA Catherine Murphy
           Anthony J. Siano, Esq.




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